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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM

Honorable Garland E. Burrell, Jr.            RE: Ramon Garcia PRADO
Senior United States District Judge              Docket Number: 2:14CR00303-3
Sacramento, California                           PERMISSION TO TRAVEL
                                                 OUTSIDE THE COUNTRY

Your Honor:


Ramon Garcia Prado is requesting permission to travel to Mexico. Mr. Prado is current with all
supervision obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On September 23, 2016, Ramon Garcia Prado was sentenced
for the offense of 18 USC 922 (g)(1) – Felon in Possession of a Firearm.


Sentence Imposed:       30 months custody of the Bureau of Prisons; 36 months Supervised
Release; $100 special assessment; Mandatory drug testing; No firearms; DNA collection.
Special conditions include: Search; Drug/alcohol treatment and testing; Abstain from alcohol;
Aftercare co-payment.


Dates and Mode of Travel: January 17, 2018 through January 24, 2018, driving to Tijuana,
then by air to Guadalajara, Mexico.


Purpose: Mr. Prado is traveling to Jaripo, Michoacan, Mexico, to attend his sister’s wedding.
He will be staying at the home of family members in Jaripo.




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                                                                                                REV. 03/2017
                                                                 TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Ramon Garcia Prado
         Docket Number: 2:14CR00303-3
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                      Respectfully submitted,

                                         /s/ Wendy E. Reyes

                                          Wendy E. Reyes
                                   United States Probation Officer

Dated:     January 16, 2018
           Elk Grove, California
           WER:lr


REVIEWED BY:                  /s/ Brenda Barron-Harrell
                           Brenda Barron-Harrell
                           Supervising United States Probation Officer



                                   ORDER OF THE COURT

The Court orders:

         ☒Approved ☐ Disapproved
         Dated: January 16, 2018




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                                                                                                    REV. 03/2017
                                                                     TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
